
*1007OPINION.
Arundell:
An overassessment having been found for the year 1920, we have no jurisdiction for that year and the proceeding with respect thereto is dismissed. Cornelius Cotton Mills, 4 B. T. A. 255.
As to the years 1918 and 1919 the petitioner’s complaint is that the respondent has not allowed as depreciation deductions the amounts “ which he states has been allowed.” The Commissioner, in his brief, concedes that the amounts set forth in the deficiency letter as depreciation allowances are not the amounts he actually allowed in computing the deficiency. He further says that the amounts actually allowed are less than those given in the deficiency letter, and on this the parties agree. The only evidence offered in this case consists of the letters from the Commissioner’s office, which are referred to in *1008the findings of fact. They do not in any respect show wherein, if at all, the Commissioner erred. No proof was offered to show the amount of depreciation to which the petitioner is entitled and until that is shown we can not say that the Commissioner erred in his determination of the amount allowable. No effort was made by the petitioner to show error on the part of the Commissioner either in the rates, used or the basis to which the rates were applied.

Judgment wild he entered for the respondent.

Considered by LaNSdoN, Sternhagen, and GkeeN.
